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 3
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 4
     ATTORNEY FOR DEFENDANT SOFIA MACIEL PASCACIO
 5
 6
     UNITED STATES OF AMERICA                     )       CASE NO: 1:05-CR-00479 OWW
 7                        Plaintiff,              )
                                                  )       STIPULATION TO CONTINUE
 8   vs.                                          )       SENTENCE
                                                  )
 9   SOFIA MACIEL PASCACIO                        )
                          Defendant.              )
10                                                )
11
            The defendant, SOFIA MACIEL PASCACIO by and through her counsel Jim T. Elia,
12
     hereby request the sentencing date in this case be continued from March 10, 2008 at 1:30 p.m. until
13
     April 7, 2008 at 1:30 p.m.
14
            The Assistant United States Attorney Kimberly A. Sanchez has agreed to the continuance,
15
     as well as the new date.
16
            The reason for the continuance is to have a Spanish speaking psychologist evaluate
17
     defendant.
18
     DATED: March 6, 2008                                 Respectfully submitted,
19
20                                                        /s/ Jim T. Elia
                                                          JIM T. ELIA, ATTORNEY
21                                                        FOR DEFENDANT
                                                          SOFIA MACIEL PASCACIO
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 1                  IN THE UNITED STATED DISTRICT COURT FOR THE
 2                           EASTERN DISTRICT OF CALIFORNIA
 3
 4 UNITED STATES OF AMERICA                   )         CASE NO: 1:05-CR-00479 OWW
                        Plaintiff,            )
 5                                            )         ORDER
   vs.                                        )
 6                                            )
   SOFIA MACIEL PASCACIO                      )
 7                      Defendant.            )
                                              )
 8
 9
           GOOD CAUSE APPEARING: It is hereby ordered that sentencing date for SOFIA
10
     MACIEL PASCACIO be continued from March 10, 2008 at 1:30 p.m. to April 7, 2008 at 1:30 p.m.
11
12
     IT IS SO ORDERED.
13
   Dated: March 6, 2008                           /s/ Oliver W. Wanger
14 emm0d6                                    UNITED STATES DISTRICT JUDGE
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